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United States District Court

NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

CHARLENE CARTER,
Plaintiff,

v CASE NO. 3:17-CV-2278-S
TRANSPORT WORKERS UNION OF
AMERICA LOCAL 556 and SOUTHWEST
AIRLINES CO,,

Defendants.

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MEMORANDUM OPINION AND ORDER

Plaintiff Charlene Carter (“Plaintiff”) is a former flight attendant for Southwest Airlines
Company (“Southwest” or the “Company”). Plaintiff filed suit against Southwest and her union,
Transport Workers Union of America Local 556 (“Local 556” or the “Union”), following her
termination by Southwest for violations of the Company’s policies related to social media,
harassment, and bullying. Plaintiff alleges that the Union retaliated against her, and Southwest
terminated her employment, for speech and activity protected by the Railway Labor Act (“RLA”)
and the United States Constitution. Plaintiff also alleges that Local 556 breached its duty of fair
representation by causing Southwest to terminate her employment. Finally, Plaintiff alleges that
both Southwest and Local 556 discriminated against her for her religious beliefs and practices in
violation of Title Vil of the Civil Rights Act of 1964 (“Title VII”).

Southwest moves to dismiss for lack of subject matter jurisdiction pursuant to Rule
12(b)(1) and for failure to state a claim pursuant to Rule 12(b)(6) [ECF No. 48]. Local 556 also
moves to dismiss for failure to state a claim pursuant to Rule 12(b}(6) [ECF No. 51]. For the

reasons that follow, the Court grants in part and denies in part the Motions.

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I. BACKGROUND
A, Factual History
Per Special Order 3-318, this case was transferred from the docket of Judge Jane J. Boyle
to the docket of this Court on March 8, 2018.
Plaintiff worked as a Southwest flight attendant from September 1996 until March 14,
2017, when Southwest terminated her employment following its investigation of a complaint
against Plaintiff filed by Local 556 President Audrey Stone (“Stone”). Second Am. Compl. { 11.
While at Southwest, Plaintiff was represented exclusively by Local 556 for purposes of collective
bargaining. /d. § 12. However, Plaintiff resigned from membership in Local 556 on or about
September 29, 2013, and exercised her RLA and First Amendment rights to object to paying the
Union’s compelled fees because of its political, ideological, and other non-bargaining spending.
Id. § 13. From September 29, 2013, until her termination, Plaintiff remained a nonmember
objector. fd.
Since 2012, Plaintiff has been involved in a dispute over the leadership and Executive
Board of Local 556, /d. {§ 14-18. Beginning in 2013, Plaintiff made numerous posts in a Facebook
group open to all Southwest flight attendants expressing her disagreement with Union leadership
and policies. /d. J] 19, 22-25. The content of the posts included allegations of corruption and
information regarding the process for “opting out” of the Union. /d. In early 2015, Plaintiff began
sending private Facebook messages to Stone’s Union president Facebook page—“Audrey Stone

Twu”—criticizing Stone and Local 556. fd. § 29.

| Airline unions cannot compel nonmember employees to contribute dues toward a political cause. See Ellis v. Bhd.
of Ry., Airline & SS. Clerks, Freight Handlers, Express & Station Emps., 466 U.S, 435, 447-48 (1984). Nonmembers
may object to their dues being used for anything other than those expenses directly related to bargaining and
administrative costs. /at'l Ass'n of Machinists v. Street, 367 U.S. 740, 774-75 (1961),

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In January 2017, Plaintiff learned that some Local 556 members, including Stone,
participated in the January 21, 2017, “Women’s March on Washington, D.C.” Jd. 435. Local 556
participants posted pictures from the Women’s March on social media, and the Union newsletter
featured the event. /d. 936. The newsletter described how Local 556 brought together “more than
two dozen Southwest Airlines flight attendants from around the country,” and how Union members
lobbied and conducted meetings with elected representatives in Washington, D.C, “in support of
woimen’s tights” and on “the dangers of national right-to-work legislation.” Jd. Plaintiff alleges
that Southwest knew of Local 556 members’ participation in the Women’s March and helped
accommodate Local 556 members’ attendance at the March. /d. {fj 37-38.

Planned Parenthood was a sponsor of the Women’s March. /d. 39. Plaintiff states that
she “is a Christian who believes that abortion is the taking of a human life contrary to the teachings
of the Bible and the will of God.” /d. 940. Plaintiff states that her “sincere religious beliefs require
her to share with others that abortion is the taking of a human life.” Jd. Plaintiff opposes abortion
and Planned Parenthood. /d. Plaintiff expressed her opposition to abortion and to Local 556’s
participation in the Women’s March on Facebook, both on her personal page and in a Facebook
group called “556 Members for Total Recall.” /d. §§ 41, 45. She also posted petitions and
messages requesting signatures and donations to fund a recall campaign demanding that the Union
conduct new elections for officers of the Union’s Executive Board, including the office held by
Stone. fd. J 32, 44.

On February 14, 2017, Plaintiff sent five private Facebook messages to Stone’s “Audrey
Stone Twu” account. /d. 9 46. First, at 11:22 a.m., she sent a message containing a video of an
aborted fetus. /d. Plaintiff wrote,

This is what you supported during your Paid Leave with others at the Women’s
MARCH in DC....You truly are Despicable in so many ways...by the way the

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RECALL is going to Happen and you are limited in the days you will be living off

of all the [Southwest Airlines Flight Attendants]..cant wait to see you back on line.

[sic]
Id, About an hour later, at 12:33 p.m., she sent another video of an aborted fetus and a message
stating, “TWU-AFL-CIO and 556 are supporting this Murder . .. [sic].” /d. At 1:00 p.m., Plaintiff
then sent a third Facebook message containing a photo of women wearing hats depicting female

genitalia. /d. Plaintiffs message stated,

Did you all dress up like this ... Wonder how this will be coded in the LM2
Financials...cause | know we paid for this along with your Despicable Party you
hosted for signing the Contract.... The RECALL [of the Local 556 Executive
Board] is going to Happen we are even getting more signatures due to other [flight
attendants] finding out what you guys do with our MONEY!!! Can’t wait for you
to have to be just a regular flight attendant again and not stealing from our DUES
for things like this! [sic].

Id, Water that day, Plaintiff sent a fourth message with a link to an article discussing how one of
the leaders of the Women’s March was a convicted terrorist. Plaintiff wrote,

Did you know this...Hmmmm seems a little counter productive don’t you

think....you are nothing but a SHEEP in Wolves Clothing or you are just so

uneducated that you have not clue who or what you were marching for! Either way

you should not be using our DUES to have Marched in this despicable show of

TRASH! [sic]

Id, Finally, Plaintiff sent a fifth message with an article written by the niece of Martin Luther
King, Jr., “explainf{ing] that Planned Parenthood hid its pro-abortion agenda from her uncle and
used his status as a civil rights leader to bolster its credibility.” Jd.

Three days later, on February 17, 2017, Plaintiff received an email from Stone on behalf
of Local 556 urging her to contact her legislators to stop a National Right to Work bill in Congress.
Id. 448. Plaintiff responded by email, stating:

First off I do not want your Propaganda coming to my inbox...that being said I

Support the RIGHT TO WORK Organization 100% ABOVE what I have to pay
you all in DUES! YOU and TWU-AFL-CIO do not Speak For Me or over half of

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our work group... We have a RECALL right now that we want adhered to with over

FOR TRUMP....so shove that in your Propaganda MACHINE! [sic]
Id.

On February 23, 2017, Southwest Manager Meggan Jones left Plaintiff a voicemail asking
to talk to Plaintiff as soon as possible. /d. 449. The next day, Southwest Inflight Base Manager
Ed Schneider left Plaintiff a voicemail stating that he wanted to set up a mandatory meeting to
discuss the Facebook posts that Southwest had seen. /d. 50. A “fact-finding” meeting was held
on March 7, 2017. éd. 4 56. At the fact-finding meeting, Plaintiff alleges that Southwest
questioned her on why she made pro-life posts to her Facebook page and why she sent the February
14, 2017, messages to Stone’s “Audrey Stone Twu” account. /d. Plaintiff states that she explained
to Southwest that she is a Christian and pro-life, and that she sent the messages “because Local
556 members, led by President Stone, participated in the Women’s March in support of Planned
Parenthood and abortion.” /d. §§ 57, 59. “[Plaintiff] stated that by [participating in the March],
President Stone and the Local 556 members purported to be representing all of the Southwest flight
attendants as supporting abortion rights.” /d. 59. Plaintiff states that she explained to Southwest
“that the views of pro-life flight attendants, like herself, were not represented by the [U]nion at the
March.” /d. Plaintiff alleges that she “was attempting to open a dialogue with President Stone by
sending her the messages and pro-life videos.” /d. 7 61.

Plaintiff alleges that during the fact-finding meeting, Southwest told her that Southwest
employees “cannot make a political statement while at work and cannot post ideological views on

a personal Facebook page with a connection to the workplace.” Jd. | 64. According to Plaintiff,

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one Southwest representative told her that Stone felt “harassed by the images and the statement
sent in the messages.” /d. § 67.

On March 14, 2017, one week after the fact-finding meeting, Southwest sent Plaintiff a
letter informing her that it was terminating her employment effective March 16, 2017. Jd. { 68.
“Southwest's letter also stated that when [Plaintiff] posted the videos and pictures on Facebook,
she was identifiable as a Southwest Airlines Employee and represented the [C]ompany in a manner
that is disparaging to Southwest Flight Attendants as well as to all Southwest Employees.” 7d.
Southwest informed Plaintiff that the Company was terminating her because her conduct violated
the Southwest Airlines Mission Statement and Company policies and rules, including but not
limited to, the Workplace Bullying and Hazing Policy and the Social Media Policy. Jd. ¥ 69.
Southwest also stated that Plaintiff's conduct “could also be a violation” of Southwest's Policy
Concerning Harassment, Sexual Harassment, Discrimination, and Retaliation. /d.

Plaintiff alleges that she was terminated by Southwest despite the fact that she had never
received any prior discipline during her 20-year career at Southwest. Jd. { 70. According to
Plaintiff, she was terminated without any opportunity to improve or correct her allegedly
unsatisfactory behavior. /d. 71.

Although not mentioned in the Second Amended Complaint, Plaintiff filed a grievance in
response to her termination by Southwest. Southwest’s Mot. to Dismiss Br. (“SWA Br.”)} 5; SWA
App. 4-22, Opinion and Award of the Arbitrator.2 Local 556 represented Plaintiff in the grievance
process and negotiated an offer of reinstatement from Southwest. SWA Br. 5-6. Plaintiff rejected
the offer and instead proceeded to arbitration. /d. at 6. Plaintiff retained her own attorneys to

represent her in the arbitration, /d. The parties participated in a two-day arbitration before William

? The Court takes judicial notice of the Opinion and Award of the Arbitrator only for its existence, not for the
correctness of any facts found. See FED. R. EVID. 201.

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Lemons on December 7 and 8, 2017. /d. The arbitrator issued an award in favor of Southwest on
April 26, 2018. /d. at 1.
B. Procedural History

Plaintiff brought this suit against Southwest and Local 556 on August 25, 2017. On
September 14, 2017, Plaintiff filed the Amended Complaint. On October 10, 2017, Southwest
filed its Motion to Dismiss the Amended Complaint. On October 24, 2017, Local 556 filed its
Motion to Dismiss.

On April 30, 2018, the parties appeared before the Court for a status conference hearing
after the case was transferred to the docket of this Court. At the status conference hearing, the
Court denied the pending motions to dismiss without prejudice in light of the recent arbitration
decision. Plaintiff filed the Second Amended Complaint on June 25, 2018. Southwest filed its
pending Motion to Dismiss on July 9, 2018, and Local 556 filed its pending Motion on July 11,
2018. The parties appeared before the Court for oral argument on the Motions to Dismiss on
December 14, 2018.

In the Second Amended Complaint, Plaintiff asserts five causes of action. In Count I,
Plaintiff alleges Southwest illegally terminated her for engaging in speech protected by the RLA
in violation of 45 U.S.C. § 152, Third and Fourth. In Count Il, Plaintiff alleges Southwest
maintained and enforced overbroad and vague policies that chill and restrict employees in the
exercise of protected rights in violation of 45 U.S.C. § 152, Third and Fourth. In Count IL, Plaintiff
alleges Local 556 breached its duty of fair representation. In Count IV, Plaintiff alleges Southwest
and Local 556 retaliated against her for the exercise of her protected rights under the RLA and
U.S. Constitution. In Count V, Plaintiff alleges Southwest and Local 556 violated Title VII by

discriminating against her because of her religious beliefs and practices.

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H. ANALYSIS
A. Southwest's Motion to Dismiss

Southwest moves to dismiss all claims asserted against it by Plaintiff. Southwest seeks
dismissal pursuant to Rule 12(b)(1), arguing that the Court lacks subject matter jurisdiction
because Plaintiff's claims are “minor disputes” under the RLA. In the alternative to its
jurisdictional challenge, Southwest also moves to dismiss all claims pursuant to Rule 12(b)(6) for
failure to state a claim.

i. Subject Matter Jurisdiction

Southwest moves to dismiss all claims asserted against it for lack of subject matter
jurisdiction. According to Southwest, Plaintiff's claims are “minor disputes” subject to the RLA’s
dispute resolution process. Minor disputes are exclusively within the jurisdiction of RLA
adjustment boards. Carmona vy. Southwest Airlines Co., 536 F.3d 344, 348 (Sth Cir, 2008) (citing
Andrews v. Louisville & Nashville R.R. Co., 406 U.S. 320, 322 (1972)).

Congress’s intention in passing the RLA “was to promote stability in labor-management
relations by providing a comprehensive framework for resolving labor disputes.” Hawatian
Airlines, Inc. v. Norris, 512 U.S. 246, 252 (1994) (citing Atchison, Topeka & Santa Fe Ry. Co. v.
Buell, 480 U.S. 557, 562 (1987)); see also 45 U.S.C. § 151a. To accomplish this goal, the RLA
establishes a mandatory arbitral mechanism for the “prompt and orderly settlement” of two classes
of disputes. Hawatian Airlines, 512 U.S. at 252 (quoting 45 U.S.C. § 151a). The first class, those
concerning “rates of pay, rules or working conditions,” are deemed “major” disputes. /d. Major
disputes relate to “the formation of collective [bargaining] agreements or efforts to secure them.”
Id. (quoting Consol, Rail Corp, v. Ry. Labor Execs.’ Ass’n, 491 U.S. 299, 302 (1989)), The second

class of disputes, known as “minor” disputes, “gro[w] out of grievances or out of the interpretation

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or application of agreements covering rates of pay, rules, or working conditions.” Jd, at 252-53
(quoting 45 U.S.C. § 151a). Minor disputes involve “controversies over the meaning of an existing
collective bargaining agreement [(“CBA”)] in a particular fact situation.” Jd, at 253 (quoting
Trainmen v. Chi. River & Ind. R.R. Co., 353 US. 30, 33 (1957)}), The “distinguishing feature” of
a minor dispute “is that the dispute may be conclusively resolved by interpreting the existing
[CBA].” Carmona, 536 F.3d at 348 (quoting Consol. Rail Corp., 491 U.S at 302). Saying a claim
can be “conclusively resolved” by interpreting a CBA “is another way of saying that the dispute
does not involve rights that exist independent of the CBA.” /d. (quoting Hawaiian Airlines, 512
US. at 265).

“If the grievances are minor disputes, they ‘must be resolved only through the RLA
mechanisms, including the carrier’s internal dispute-resolution processes and an adjustment board
established by the employer and the unions.’” CareFlite v. Office & Prof'l Emps, Int’l Union,
AFL-CIO, 612 F.3d 314, 318 (Sth Cir. 2010) (quoting Hawaiian Airlines, 512 U.S. at 252). “The
assertion of any right that is not created by a CBA is therefore not subject to binding arbitration
under the statute.” /d. at 320-21. “That is, claims that are independent of the CBA are not ‘minor
disputes,’ and the RLA’s mandatory arbitration mechanism does not preclude or preempt their
being brought in federal court.” CareFlite v. Office & Prof’l Emps. int’l Union, AFL-CIO, 766 F.
Supp. 2d 773, 777 (N.D. Tex. 2011).

According to Southwest, Plaintiff predicates her RLA-based claims on the allegations that
(1) Southwest terminated her in retaliation for protected speech; and (2) Southwest maintained and
applied overbroad workplace policies. SWA Br. 12. Southwest further contends that Plaintiff's
Constitution-based retaliation and Title VII claims appear to be based on the same or an

overlapping factual predicate. /d. at 12-13. Thus, Southwest argues that Plaintiffs claims are

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minor disputes because they “rest on and require interpretation of the CBA (which contains a
provision requiring just cause for any termination), directly-related work rules, and the bargaining
history of the parties.” /d. at 13.

The Court disagrees. Plaintiffs claims do not “rest on and require interpretation of the
CBA” as Southwest suggests. Plaintiff is not challenging rates of pay, rules, or working
conditions, See Hawaiian Airlines, 512 U.S. at 252. Plaintiff also is not alleging a breach of the
CBA, See CareFlite, 766 F. Supp. 2d at 777. Rather, Plaintiff alleges that Southwest terminated
her employment for speech and activity protected by the RLA and the Constitution, and that
Southwest discriminated against her for her religious beliefs in violation of Title VIL See Second
Am. Compl. {§ 76-90, 101-31. The Court finds that these allegations do not bring the meaning of
any CBA provisions into dispute. While it may be necessary to reference the provisions of the
CBA, the case at hand cannot be resolved conclusively by the Court interpreting a disputed
provision. Because provisions of the CBA are relevant to, but not dispositive of, the resolution of
Plaintiff's claims, her claims do not constitute a minor dispute under the RLA. See Carmona, 536
F.3d at 349; see also Bhd. of R.R. Trainmen v. Howard, 343 U.S. 768, 774 (1952) (The claims
here cannot be resolved by interpretation of a bargaining agreement so as to give jurisdiction to
the Adjustment Board{.]”)

In addition, the fact that Plaintiffs claims allege constitutional, RLA, and Title VII
violations, as opposed to violations of the CBA itself, further bolsters the argument that Plaintiff's
claims do not require CBA interpretation. See Carmona, 536 F.3d at 350-51; see also Hawaiian
Airlines, 512 U.S. at 265 (“Obviously, to say that a minor dispute can be ‘conclusively resolved’
by interpreting the CBA is another way of saying that the dispute does not involve rights that exist

independent of the CBA.”). Courts have consistently held that causes of action asserting violations

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of rights separate and independent of a CBA do not require interpretation of a CBA and are,
therefore, not minor disputes. See, ¢.g., Hawatian Airlines, 512 U.S, at 266 (holding that plaintiff s
state-law wrongful-discharge claims are independent of CBA); Stewart v. Spirit Airlines, Inc., 503
F. App’x 814, 818 (11th Cir. 2013) (“[T]he RLA’s alternative dispute resolution scheme does not
preempt causes of action to enforce rights that are independent of the [CBA], including statutory
rights.”}; Carmona, 536 F.3d at 351 (holding that plaintiffs Title VIE and ADA claims do not
require interpretation of CBA, only reference to it}; Roscello v, Southwest Airlines Co., 726 F.2d
217, 219-20 n.2 (Sth Cir. 1984) (“[T]here seems to be no doubt that this claim, which rests not
upon a [CBA], but upon a charge that Southwest violated the statute, was within the jurisdiction
of the district court rather than an adjustment board.”); Careflite, 766 F. Supp. 2d at 779 (holding
that plaintiffs retaliation and discrimination claim under the RLA “does not depend on
interpretation of the CBA, it is ‘independent’ of the CBA and is not precluded by the RLA’s
mandatory arbitration mechanism—even if the CBA will, at some point, have to be consulted”).
Plaintiffs claims assert rights that emanate from sources outside the agreement, not contractual
rights grounded in the CBA.

The Court finds that because Plaintiff's claims of constitutional, RLA, and Title VII
violations cannot be conclusively resolved by interpreting the existing CBA, they do not constitute
minor disputes precluded by the RLA. Therefore, the Court denies Southwest’s 12(b)(1) Motion
to Dismiss for lack of subject matter jurisdiction.

ii, Failure to State a Claim
(1) Issue Preclusion
Southwest argues that the Court should give preclusive effect to the issues resolved in

arbitration. According to Southwest, “[T]he arbitrator’s findings refute [Plaintiff's] alleged

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circumstantial evidence of an improper motive by Southwest (disparate treatment, improper
motive, misapplication of policy, progressive discipline). The arbitrator’s findings also undercut
the factual basis of [Plaintiffs] claims[.]”’ SWA Br. 10. Southwest contends that “the arbitrator
has resolved the essential factual predicates of [Plaintiffs] claims,” and therefore moves for
dismissal pursuant to Rule 12(b)(6). Jd.

“As a general matter, arbitral proceedings can have a preclusive effect even in litigation
involving federal statutory and constitutional rights, and the decision to apply it is within the
discretion of the district court.” Grimes v. BNSF Ry, Co., 746 F.3d 184, 188 (5th Cir. 2014).
Collateral estoppel may apply in federal-court litigation to facts found in arbitral proceedings as
long as the Court considers the “federal interests warranting protection,” /d, (quoting Dean Witter
Reynolds, Inc. v. Byrd, 470 U.S. 213, 223 (1985)). The Court has “broad discretion” to decide
whether to apply the doctrine, “at least when the arbitral pleadings state issues clearly, and the
arbitrators set out and explain their findings in a detailed written opinion.” /d. (quoting Universal
Am. Barge Corp. v. J-Chem, inc., 946 F.2d 1131, 1137 (Sth Cir. 1991)). Additionally, “[a] district
court in exercising its discretion must carefully consider whether procedural differences between
arbitration and the district court proceeding might prejudice the party challenging the use of
offensive collateral estoppel.” Jd. If the procedural differences “might be likely to cause a
different result,” then collateral estoppel is inappropriate. /d. (quoting Am. Barge, 946 F.2d at
1138). The arbitrators should also be “experienced and disinterested individuals.” Jd.

In determining whether to exercise its discretion in applying issue preclusion, the Court
must consider: (1) whether the “findings are within the panel’s authority and expertise” and (2)
whether the “arbitration procedures ‘adequately protected the rights of the parties.’” Jd. (quoting

Greenblatt v. Drexel Burnham Lambert, Inc., 763 F.2d 1352, 1361 (11th Cir. 1985)). As to the

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second prong, “[w]hen an arbitration proceeding affords basic elements of adjudicatory procedure,
such as the opportunity for presentation of evidence, the determination of issues in an arbitration
proceeding should be generally treated as conclusive in subsequent proceedings[.]’ /d. (quoting
Greenblatt, 763 F.2d at 1360).

To determine if issue preclusion is proper in this case, the Court would need to consider
matters outside the scope of the pleadings. But in ruling on a Rule 12(b)(6) motion, the Court
limits its review to the face of the pleadings. See Spivey v. Robertson, 197 F.3d 772, 774 (Sth Cir.
1999). The pleadings include the complaint and any documents attached to it. Collins v. Morgan
Stanley Dean Witter, 224 F.3d 496, 498-99 (Sth Cir. 2000). However, the “[C]ourt may consider
documents attached to a motion to dismiss that ‘are referred to in the plaintiff's complaint and are
central to the plaintiff's claim.’” Sullivan v. Leor Energy, LLC, 600 F.3d 542, 546 (Sth Cir. 2010)
(quoting Scanian v. Tex. A & M Univ., 343 F.3d 533, 536 (Sth Cir. 2003)). In the case at hand,
Southwest included a copy of the Opinion and Award of the Arbitrator as Exhibit B to its appendix
in support of its Motion to Dismiss. See Southwest App. 4-22, Opinion and Award of the
Arbitrator. But as noted above, the Second Amended Complaint makes no reference to the
arbitration proceedings or award,

Given that the Second Amended Complaint does not make mention of the Opinion and
Award of the Arbitrator, the Court declines to consider the documents attached as exhibits to
Southwest’s motion. The Court also declines to swa sponte convert Southwest’s Motion to Dismiss
under Rule 12(b)(6) to a motion for summary judgment under Rule 56. See FED. R. Civ. P. 12(d)
(“If, on a motion under Rule 12(b)(6) or 12(c), matters outside the pleadings are presented to and

not excluded by the court, the motion must be treated as one for summary judgment under Rule

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56.”); see also 5C CHARLES ALAN WRIGHT & ARTHUR R. MILLER, FEDERAL PRACTICE AND
PROCEDURE § 1366 (3d ed. 2018).

Moreover, the Court would need to consider more than just the Opinion and Award of the
Arbitrator on its face to determine if issue preclusion should apply. In deciding whether to exercise
its discretion to apply the doctrine, the Court should consider the experience of the arbitrator,
procedural differences in the proceedings, whether the arbitration proceedings adequately
protected the rights of the parties, and whether the findings were within the arbitrator’s expertise
and authority. See Grimes, 746 F.3d at 188. These considerations are outside the scope of the
pleadings, and therefore inappropriate for the Court’s review at the motion to dismiss stage.
Therefore, the Court denies without prejudice Southwest’s 12(b)(6) Motion to Dismiss based on
issue preclusion,

(2) Violations of the RLA (Counts I and ID)

Plaintiffalleges that Southwest violated the RLA, Section 2, Third and Fourth, in two ways.
First, Plaintiff contends that by firing her for her February 14, 2017, Facebook messages and
related posts, Southwest violated her rights under Section 2, Third and Fourth, of the RLA to
vigorously exercise “uninhibited, robust, and wide-open” free speech related to flight attendants’
efforts to reorganize Local! 556, to collectively bargain with Southwest, and to oppose the Union’s
leadership and spending. Second Am. Compl. ¥ 81 (quoting Old Dominion Branch No. 496, Nat.
Ass'n of Letter Carriers vy. Austin, 418 U.S. 264, 273 (1974)). Second, Plaintiff alleges that
Southwest’s Workplace Bullying and Hazing Policy, its Social Media Policy, its Policy
Concerning Harassment, Discrimination, and Retaliation, and its Mission Statement, “were all

overbroad in the manner in which they were maintained by the [C]ompany and enforced against

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[Plaintiff], restricting [Plaintiffs] exercise of her rights under the RLA to engage in protected
speech and activities in opposition to {the Union].” Jd. | 88.

Section 2, Third, of the RLA provides, in relevant part, that representatives “shall be
designated by the respective parties without interference, influence, or coercion by either party
over the designation of representatives by the other; and neither party shall in any way interfere
with, influence, or coerce the other in its choice of representatives.” 45 U.S.C, § 152, Third.
Section 2, Fourth, of the RLA provides, in relevant part, that

Employees shall have the right to organize and bargain collectively through

representatives of their own choosing. .. . No carrier, its officers, or agents shall

deny or in any way question the right of its employees to join, organize, or assist in

organizing the labor organization of their choice, and it shall be unlawful for any

carrier to interfere in any way with the organization of its employees .. . or to

influence or coerce employees in an effort to induce them to join or remain or not

to join or remain members of any labor organization[.]

id. § 152, Fourth,

Southwest moves to dismiss Plaintiff's RLA claims, arguing that Plaintiff has failed to
plead the anti-union animus and protected activity necessary to support her RLA claims.

Since the enactment of Section 2, Third and Fourth, as part of the 1934 amendments to the
RLA, the Supreme Court has “viewed them as addressing primarily the precertification rights and
freedoms of unorganized employees.” Trans World Airlines, Inc. v. Indep. Fed’n of Flight
Attendants ("TWA"), 489 U.S. 426, 440 (1989). “Quite plainly, the RLA protects the employees’
right to establish a union.” Johnson v. Express One Int'l, Inc., 944 F.2d 247, 252 (Sth Cir. 1991).

“The explanation for the precertification focus of the 1934 amendments is clear. The RLA
provides an exhaustively detailed procedural framework ‘to facilitate the voluntary settlement of

major disputes.*” TWA, 489 US. at 441 (quoting Bhd. of R.R. Trainmen v. Jacksonville Terminal

Co., 394 U.S, 369, 378 (1969)), The RLA contemplates dispute resolution through private

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mechanisms. /d. “The effectiveness of these private dispute resolution procedures depends on the
.., assurance that neither party will be able to enlist the courts to further its own partisan ends.”
/d. Thus, the Supreme Court has “understood judicial intervention in RLA procedures to be limited
to those cases where ‘but for the general jurisdiction of the federal courts there would be no remedy
to enforce the statutory commands which Congress had written into the Railway Labor Act.’” /d.
(quoting Switchmen’s Union of N. Am. v. Nat'l Mediation Bd., 320 U.S. 297, 300 (1943)).
Neither party has directed the Court to Fifth Circuit precedent regarding when judicial
intervention by the district court is warranted in post-certification RLA disputes.* In the absence
of binding precedent, the Court turns to persuasive precedent from other circuits. Other circuit
courts have permitted judicial intervention in post-certification RLA cases in only limited
circumstances. Spirit Airlines, 503 F. App’x at 819. One circumstance includes “a fundamental
attack on the collective bargaining process” or a “direct attempt to destroy a union.” /d. (quoting
Air Line Pilots Ass'n, Int'l vy. Guilford Transp. Indus., Inc., 399 F.3d 89, 103 (ist Cir. 2005)
(internal quotation marks omitted)); see also Dempsey v. Atchison, Topeka & Santa Fe Ry. Co., 16
F.3d 832, 841 (7th Cir. 1994) (‘In situations such as ours, known as ‘post-certification’
controversies, Section 2, Fourth has been interpreted as providing protection where the plaintiff
can show that the employer’s actions strike a fundamental blow to union or employer activity and
the collective bargaining process itself.” (internal citation and quotation marks omitted)). Another
post-certification circumstance involves cases where the employer had anti-union animus and

explicitly penalized an employee because of the employee’s union activities. Spirit Airlines, 503

* While not directly on point, the Fifth Circuit has provided guidance on the limited circumstances when judicial
intervention in a “minor” dispute under the RLA is appropriate. Ass’n of Prof’ Flight Attendants v. Am. Airlines,
Inc., 843 F.2d 209 (Sth Cir. 1988). “Federal judicial intervention in minor disputes is limited to circumstances where
the employer's conduct has been motivated by an anti-union animus, where there is discrimination or coercion against
the representative, or where acts of intimidation cannot be remedied by administrative means.” /d. at 211 (internal
citation and quotation marks omitted). “These circumstances present situations where the essential framework for
bargaining between management and the union has broken down.” /d.

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F, App’x at 819 (citing Wightman v. Springfield Terminal Ry. Co., 100 F.3d 228, 234 (ist Cir.
1996); Bd. of Locomotive Eng’rs vy, Kan. City 8. Ry. Co., 26 F.3d 787, 795 (8th Cir. 1994)); see
also Int’l Bhd. of Teamsters, AFL-CIO, Teamsters Local Union No. 2727 v. United Parcel Serv.
Co., 447 F.3d 491, 503 (6th Cir. 2006) (“Absent more concrete allegations of anti-union animus,
the union cannot show that [defendant’s] conduct has been sufficiently coercive to trigger any
‘extremely limited’ jurisdiction under § 2, Third|.]”); Ass'n of Flight Attendants v. Horizon Air
Indus., Inc., 280 F.3d 901, 905 (9th Cir. 2002) (“Other circuits have also recognized that judicial
intervention in post-certification RLA claims should ordinarily be limited to situations in which
an employer’s conduct has been motivated by anti-union animus or where circumstances exist that
significantly undermine the functioning of the union, such as an attempt to interfere with an
employee’s choice of a collective bargaining representative or an act of intimidation that cannot
be remedied by administrative means.”); Tello v. Soo Line R.R. Co., 772 F.2d 458, 462 (8th Cir.
1985) (“[Plaintiff] did not raise a cognizable claim under 45 U.S.C. § 152 (Third) because he failed
to present adequate evidence that [defendant’s] actions have been motivated by anti-union animus
or that [defendant’s] actions were an attempt to interfere with its employees’ choice of their
collective bargaining representative.”).

Southwest moves to dismiss Plaintiff's RLA claims for fatling to plead the anti-union
animus and protected activity necessary to support her claims. According to Southwest,
“lPlaintiff’s} allegations have little, if anything, to do with the anti-union animus or threats to the
collective bargaining process required to state a[n] RLA claim.” SWA Br. 16-17.

The Court agrees. Plaintiff's allegations fail to establish either the anti-union animus or a
fundamental attack on the collective bargaining process on the part of Southwest necessary to bring

a post-certification dispute within the jurisdiction of the district court. Therefore, the Court finds

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that Plaintiff has failed to state a statutory cause of action under 45 U.S.C. § 152, Third and Fourth
of the RLA,

In reviewing a motion to dismiss, courts must determine whether the pleadings contain
“sufficient factual material, accepted as true, to ‘state a claim to relief that is plausible on its face.’”
Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl Corp. v. Twombly, 550 U.S. 544,
555 (2007)). A claim is facially plausible when the Court can draw “the reasonable inference that
the defendant is liable for the misconduct alleged” from the pleaded facts. fd. The Court “accepts
all well-pleaded facts as true, viewing them in the light most favorable to the plaintiff.” Sonnier
v. State Farm Mut. Auto. Ins. Co., 509 F.3d 673, 675 (Sth Cir. 2007) (internal quotation marks and
citations omitted),

The Court finds that Plaintiff has failed to plausibly allege either anti-union animus or a
fundamental attack on the collective bargaining process on the part of Southwest. At most,
Plaintiff has alleged that Southwest intervened in an internal Union dispute, responded to an
employee’s concern about graphic and possibly harassing messages from a co-worker, and
terminated an employee for violating various policies. These allegations, without more, do not
establish “more than a sheer possibility that [Southwest] has acted” due to anti-union animus or in
an attempt to destroy the Union. /gbal, 556 U.S. at 678. “RLA Section 2 was not designed to give
minority groups within a union a cause of action against their employer when they cannot persuade
their own union to take actions they deem to be in the union’s best interest.” Renneisen v. Am.
Airlines, Inc,, 990 F.2d 918, 923 (7th Cir, 1993).

Most significantly, the Court finds that Plaintiff cannot establish that Southwest’s conduct
rose to the level of leaving her “no remedy to enforce” her statutory rights under the RLA. TWA,

489 US. at 441 (quoting Swifchmen’s Union, 320 U.S. at 300). Even as a nonmember objector,

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Plaintiff had access to, and in fact utilized, the contractual dispute resolution procedure under the
CBA to address her grievances in arbitration. See SWA App. 4-22, Opinion and Award of the
Arbitrator. “It appears that no federal court has permitted an employee to pursue a claim under $§
2 Third and Fourth after the employee has submitted to arbitration under the [CBA].” Held v. Am.
Airlines, Inc., No. 06 C 4240, 2007 WL 433107, at *6 (N.D. Ill. Jan. 31, 2007).

Because Plaintiff had a remedy to enforce her rights under the RLA and because Plaintiff
failed to plead sufficiently the anti-union animus necessary to support her claims, the Court finds
that judicial intervention is unwarranted in Plaintiff's post-certification RLA claims. Even if
Plaintiff were given the opportunity to replead, she cannot change the fact that she had access to,
and in fact utilized, the contractual dispute resolution procedure under the CBA. Therefore, the
Court finds that any further amendment of Plaintiffs RLA claims would be futile. See Great
Plains Tr. Co. v. Morgan Stanley Dean Witter & Co., 313 F.3d 305, 329 (Sth Cir. 2002). The
Court grants Southwest’s Rule 12(b)(6) Motion to Dismiss as to Counts I and II, and dismisses
with prejudice Plaintiffs RLA claims.

(3) Retaliation Claims (Count IV)

In Count IV, Plaintiff alleges that Southwest retaliated against her for the exercise of her
rights under the First and Fifth Amendments to the Constitution and under the RLA. Second Am.
Compl. #4] 105-06. To establish a prima facie case of retaliation, Plaintiff must show, inter alia,
she engaged in “protected activity [that] was a but-for cause of the alleged adverse action by the
employer.” Stewart v. int’l Ass'n of Machinists & Aerospace Workers, 643 F. App’x 454, 457
(5th Cir. 2016) (quoting Univ. of Tex. Sw. Med. Ctr. v. Nassar, 133 8, Ct. 2517, 2534 (2013)); see

also Martin v. Local 556, Transp. Workers of Am., 708 F. App’x 171, 175 (th Cir. 2017) (“To

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make a claim for... statutory retaliation, a plaintiff must show, among other things, that she
suffered an ‘adverse action.’” (quoting Roscello, 726 F.2d at 222)).

According to Plaintiff,

[Plaintiff] exercised her rights under the First and Fifth Amendments to the U.S.

Constitution and under the RLA to resign from membership in Local 556 and to

object to the forced payment of political and other nonchargeable union expenses.

[Plaintiff] engaged in protected speech and activity in opposing, challenging, and

advocating against Local 556, President Stone, and the [U]nion’s activities and

expenditures. [Plaintiff] opposed Local 556, President Stone, and their political

and ideological views, and supported the recall of the Local 556 Executive Board.
Second Am. Compl. 4 105. Plaintiff alleges that Southwest retaliated against her for exercising
her protected rights by terminating her employment. /d. 4 106.

a. Protected Rights under the RLA

Southwest moves to dismiss Plaintiff's RLA-based retaliation claim pursuant to Rule
12(b)(6) for failing to allege “facts to suggest a causal nexus between protected activity and her
termination.” SWA Br. 18. Southwest argues, “[Plaintiff] alleges that she began engaging in anti-
Union protected speech as early as 2012-——-more than five years before her alleged retaliatory
termination. Such a gap in time refutes [Plaintiff's] claim of retaliation[.]” Jd.

Plaintiff does admit that she has been engaged in opposition to the Union since September
2013. See Second Am. Compl. | 20. However, Plaintiff alleges that she was ultimately terminated
during a recall campaign of the Executive Board of Local 556, which Plaintiff supported, and that
she was terminated after expressing her opposition to the political leadership of the Union and the
Union’s expenditures. See id. F¥ 34, 41, 44-46, 48, 80. Plaintiff also alleges that “Southwest has
subjected approximately thirteen supporters of the recall effort to termination of employment,

suspension, repeated fact-findings, and/or other disciplinary measures in the last twelve months,

many times at the request of Local 556 members and officials.” Jd. [J] 74-75. In contrast to recall

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supporters, Plaintiff alleges that other flight attendants were not terminated by Southwest or
ultimately were allowed to keep their jobs despite complaints filed against them involving social
media posts that were allegedly threatening or harassing. See id. {| 72-73.

Viewing the well-pleaded factual allegations in the light most favorable to Plaintiff, the
Court finds that Plaintiffs allegations are sufficient to establish “more than a sheer possibility”
that Southwest was motivated by Plaintiff's RLA-protected activities in terminating her
employment. /qbal, 556 U.S. at 678. Therefore, the Court denies Southwest’s 12(b)(6) Motion to
Dismiss on this basis.

Southwest also moves to dismiss Plaintiff's retaliation claim pursuant to Rule 12(b)(6),
arguing “that even otherwise protected ‘speech relating to union activity loses statutory protection
if it is vulgar, offensive, abusive, or harassing.’” SWA Br. 19 (quoting Held, 2007 WL 433107,
at *7). Southwest admits in its briefing that there is a “scarcity of RLA jurisprudence on this
issue,” and invites the Court to refer to decisions by the National Labor Relations Board as a
helpful analogy. See id. at 19.8. The Supreme Court has observed that “carefully drawn
analogies from the federal common labor law developed under the [National Labor Relations Act]
may be helpful in deciding cases under the RLA.” Johnson, 944 F.2d at 251 (quoting TWA, 489
U.S, at 433). Yet, the Supreme Court “has also cautioned against transplanting NLRA precedent
into the railway labor arena in a wholesale fashion.” /d. (citing Jacksonville Terminal Co., 394
US. at 383).

Without binding caselaw on point, the Court declines Southwest’s invitation to extend the
existing caselaw in this manner, and denies Southwest’s 12(b)(6) Motion to Dismiss on this

prounid.

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b. Protected Rights under the Constitution

Southwest moves to dismiss Plaintiff's retaliation claim based on constitutional violations,
arguing that the First and Fifth Amendments only operate to protect individuals against
government action, SWA Br, 21. Southwest is a publicly-traded company. /d.

The First Amendment prohibits governmental infringement on the right of free speech.
Rendell-Baker v. Kohn, 457 U.S. 830, 837 (1982); see also Anderson v. Pasadena Indep. Sch.
Dist., 184 F.3d 439, 444 (Sth Cir. 1999) (“It is well established that a state may not discharge,
discipline, or otherwise retaliate against a public employee for exercising his First Amendment
right to free speech” (emphasis added)}, Similarly, the Fifth Amendment only applies to
governmental actors. See S.F. Arts & Athletics, Inc. v. U.S. Olympic Comm., 483 U.S. 522, 543
(1987) (“The fundamental inquiry is whether the [defendant] is a governmental actor to whom the
prohibitions of the Constitution apply.”); see also Flagg Bros., Inc. v. Brooks, 436 U.S. 149, 156
(1978) (“|Mlost rights secured by the Constitution are protected only against infringement by
governments.”). The protections of the First and Fifth Amendments do not extend to private
conduct, only to povernment action. See Nat'l Collegiate Athletic Ass'n v. Tarkanian, 488 U.S.
179, 191 (1988).

According to Plaintiff, “[t]he RLA transforms Southwest... into [a] government actor[].”
Pl.’s Resp. Br. 18. “Vested with governmental authority by the RLA, Southwest engaged in ‘state
action’ and ‘acted under the color of federal law’ when it interfered with and violated [Plaintiff s]
rights to resign and to object by retaliating against her for exercising those rights.” /d. Plaintiff
alleges,

Defendants are government actors, acting under color of federal law, because the

RLA confers to Local 556 by federal authority, the power to act as the exclusive

bargaining representative of all Southwest employees. Defendants also enforce a
“union security clause” and subject employees to the “union security clause”

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pursuant to the federal authority of the RLA, which “authorizes agency shops...

and therefore puts a federal imprimatur on a [CBA], forcing an unwilling employee

to pay a union agency fee.” [Ry. Emp. Dep't v.] Hanson, 351 U.S, [225,] 232 n.4

(1956); Steele v. Louisville & N.R. Co., 323 U.S. 192, 198-99, 204 (1944): Shea v.

Int'l Ass'n of Machinists, 154 F.3d 508, 513 n.2, 516-17 (Sth Cir, 1998); Miller v.

Airline Pilots Ass'n, 108 F.3d 1415, 1420 (D.C. Cir, 1997).

Second Am. Compl. { 103.

The Court disagrees with Plaintiff's analysis. It does not appear that any court has held
that the RLA can “transform” a private company into a state actor, even in the cases cited by
Plaintiff.

The Supreme Court ruled in Hanson “that because the RLA pre-empts all state laws
banning union-security agreements, the negotiation and enforcement of such provisions in railroad
industry contracts involves ‘governmental action’ and is therefore subject to constitutional
limitations.” Comme’ns Workers of Am. v. Beck, 487 U.S. 735, 761 (1988). The Supreme Court
discussed the possible “[w]ide-ranged problems” under the First Amendment of union shop
apreements, including “forc[ing] men into ideological and political associations which violate their
right to freedom of conscience, freedom of association, and freedom of thought.” Hanson, 351
U.S. at 236. Ultimately, the Supreme Court issued a narrow ruling, holding that “the requirement
for financial support of the collective-bargaining agency by all who receive the benefits of its work
is within the power of Congress under the Commerce Clause and does not violate either the First
or the Fifth Amendments,” /d. at 238,

Subsequently, courts have interpreted the “constitutional limitations” of agency shop
agreements under the RLA as the constitutional right of employees to object to their union and pay
reduced dues as nonmember objectors. See, e.g., Abood v. Detroit Bd. of Educ., 431 U.S, 209

(1977) (drawing line between collective-bargaining activities, for which contributions by

nonmembers may be compelled, and ideological activities unrelated to collective bargaining, for

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which such compulsion is prohibited}, overruled by Janus v. Am. Fed’n of State, Cty., and Mun.
Emps., Council 31,1388. Ct. 2448, 2459-60 (2018); Shea v. Int'l Ass'n of Machinists & Aerospace
Workers, 154 F.3d 508 (Sth Cir. 1998) (airline employees subject to RLA brought action
challenging union’s procedure requiring them to annually object in writing to opt out of full union
membership); Miller v. Air Line Pilots Ass’n, 108 F.3d 1415 (D.D.C. 1997) (nonmember pilots
objected to pilot union’s calculations of nonmembers’ agency fees). However, the Supreme Court
recently held that an Illinois law forcing public employees to subsidize a union, even if they choose
not to join and strongly object to the positions the union takes in collective bargaining and related
activities, violates the free speech rights of nonmembers by compelling them to subsidize private
speech on matters of public concern. Janus, 138 S. Ct. at 2459-60. The Supreme Court’s decision
in Janus overruled its prior decision in Abood, which held that nonmembers may be charged for
the portion of union dues attributable to activities that are “germane to [the union’s|} duties as
collective-bargaining representative,” but nonmembers may not be required to fund the union’s
political and ideological projects. /d. at 2460-61 (citing Abood, 431 U.S. at 235-36).

Here, Plaintiff is not bringing a claim against the Union based on the charging of improper
expenses or related deficiencies. Nor is Plaintiff alleging that Southwest prevented her from
resigning from the Union to become a nonmember objector. In fact, Plaintiff resigned from the
Union on September 29, 2013, and remained a nonmember objector without incident until her
termination by Southwest on March 14, 2017. Second Am. Compl. 4 13. Rather, she alleges a
claim of retaliation and discrimination against her employer. See id. J] 104, 128. Plaintiff is
essentially asking the Court to hold that Southwest, a private company, is a state actor in the
context of an employment dispute because Southwest is a party toa CBA. Plaintiff has failed to

identify a recognized legal theory for this proposition. Janus also does not support Plaintiff's

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argument that the RLA “transforms” Southwest into a private actor. In particular, the ruling in
Janus applies to public-sector unions and workers, not private-sector unions and workers. See id.
at 2478 (“[W]e conclude that public-sector agency-shop arrangements violate the First
Amendment[.]” (emphasis added)). And as discussed above, Plaintiff is a nonmember objector of
a private-sector union.

Southwest is not a state actor. Nonmember objectors in the private sector do have a First
Amendment right to object to their union and pay reduced dues, which Plaintiff has elected to do.
It remains to be seen if the Supreme Court’s ruling in Janus will be extended to private-sector
unions; however, this is not the issue before the Court in the instant case. Plaintiff asserts causes
of action for retaliation by her employer and religious discrimination under Titie VII. While she
may object to paying her union dues, that is not the claim Plaintiff has brought before the Court in
the instant case. Therefore, the Court grants Southwest’s Motion to Dismiss on this ground and
dismisses with prejudice Plaintiff's retaliation claims against Southwest based on the exercise of
her rights under the First and Fifth Amendments.

(4) Title Vi (Count V)

Plaintiff asserts a Title VII claim against Southwest, alleging that Southwest discriminated
against her for her religious beliefs and practices “by terminating her employment because of her
religious beliefs and practices, including sharing religious views on her personal Facebook page,
with her union president, while off-duty and without any impact on the workplace.” Second Am.
Compl. § 4. Southwest argues that Plaintiff has failed to state a valid religious discrimination
claim, and therefore the Court should dismiss her Tithe VH claim.

Title VII makes it unlawful for an employer “to discharge any individual, or otherwise to

discriminate against any individual with respect to his compensation, terms, conditions, or

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privileges of employment, because of such individual’s ... religion.” 42 U.S.C. § 2000e-2(a)(1).
“The term ‘religion’ includes all aspects of religious observance and practice, as well as belief,
unless an employer demonstrates that he is unable to reasonably accommodate ... an employee’s

. religious observance or practice without undue hardship on the conduct of the employer’s
business.” Jd. § 2000e(). Thus, “[a]n employer has the statutory obligation to make reasonable
accommodations for the religious observances of its employees, but it is not required to incur
undue hardship.” Weber v. Roadway Express, Inc., 199 F.3d 270, 273 (Sth Cir. 2000).

The Fifth Circuit analyzes a Title VI claim for failure to accommodate religious
observances under a burden-shifting framework akin to the framework articulated in McDonnell
Douglas Corp. v. Green, 411 U.S. 792 (1973). Davis v. Fort Bend Cty., 765 F.3d 480, 485 (Sth
Cir. 2014). “The employee must first establish a prima facie case of religious discrimination.” /d.
(citing Antoine v. First Student, Inc., 713 F.3d 824, 831 (5th Cir. 2013)). “If she does, ‘the burden
shifts to the defendant to demonstrate either that it reasonably accommodated the employee, or
that it was unable to reasonably accommodate the employee’s needs without undue hardship.’”
id. (quoting Antoine, 713 F.3d at 831).

To establish a prima face case of religious discrimination under Title VII, the plaintiff must
present evidence that {1} she held a bona fide religious belief, (2) her belief conflicted with a
requirement of her employment, (3) her employer was informed of her belief, and (4) she suffered
an adverse employment action for failing to comply with the conflicting employment requirement.
id. (quoting Tagore v. United States, 735 F.3d 324, 329 (Sth Cir. 2013)). Notice to the employer
of a religious belief or required accommodation is not required. See EEOC vy, Abercrombie &

Fitch Stores, Ine., 135 8. Ct. 2028, 2033 (2015). Rather, the employer's motive is the relevant

inquiry. fd. “[T]he rule for disparate-treatment claims based on a failure to accommodate a

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religious practice is straightforward: An employer may not make an applicant’s religious practice,
confirmed or otherwise, a factor in employment decisions.” Jd.

At the motion to dismiss stage, although a plaintiff does not have to submit evidence to
establish a prima facie case of discrimination, she does have to plead sufficient facts on all the
ultimate elements of her claim to make her case plausible. Chhim v. Univ. of Tex. at Austin, 836
F.3d 467, 470 (Sth Cir. 2016); see also Raj. v. La. State Univ., 714 F.3d 322, 331 th Cir. 2013).
“T]he ultimate question in a Title VII disparate treatment claim remains whether a defendant took
the adverse employment action against a plaintiff because of her protected status.” Raj, 714 F.3d
at 322 (internal citations and quotation marks omitted).

Plaintiff alleges that her “religious beliefs require her to share with others that abortion ts
the taking of a human life.’ Second Am. Compl. 9117. According to Plaintiff, she “discovered
that Local 556, the exclusive labor representative of all Southwest flight attendants, participated
in the Women’s March and supported pro-abortion activities, using Southwest logos on their
signs.” /d. 4118. “In accordance with her religious beliefs and practices, [Plaintiff] posted videos
to her personal Facebook page opposing abortion and sent President Stone videos opposing
abortion and comments critical of Local 556’s support for abortion.” /d, Plaintiff alleges that
before her termination at her fact-finding meeting, she notified Southwest of her religious beliefs
and explained why she sent the Facebook messages to Stone. /d. | 58.

Plaintiff contends, “Southwest violated Title VII’s anti-discrimination provisions when the
[C]ompany terminated [Plaintiff] for her religious beliefs and for engaging in the religious practice
of sharing religious beliefs on abortion with the [U]nion president and on her personal Facebook
page.” Jd. 4128. According to Plaintiff, “Title VI required Southwest’s policies to give way to

the need for an accommodation of [Plaintiffs] religious beliefs and practices.” /d. § 129. Plaintiff

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further alleges that Southwest violated Title VII “by failing to attempt any accommodation to
[Plaintiffs] religious beliefs and practices, including when [Southwest] applied the Social Media
Policies to [Plaintiffs] communications on her personal Facebook page and to the [U]nion
president.” /d. § 130.

Accepting all well-pleaded facts as true and viewing them in the light most favorable to
the Plaintiff, the Court finds that Plaintiff has stated a plausible Title VIE claim for religious
discrimination against Southwest. See Sonnier, 509 F.3d at 675. Plaintiff has established “more
than a sheer possibility” that her religious beliefs and practice were a factor in Southwest’s decision
to terminate her. /gbal, 556 U.S. at 678. Whether accommodating Plaintiffs religious beliefs
would have imposed an undue hardship on Southwest is a fact-intensive inquiry that may be
addressed at the summary judgment stage or at trial. See, e.g., Antoine, 713 F.3d at 834; Stolley v.
Lockheed Martin Aeronautics Co., 228 F, App’x 379, 382-83 (Sth Cir, 2007). Therefore, the Court
denies Southwest’s 12(b)(6) Motion to Dismiss Plaintiff's Title VII claim.

B. Local 556’s Motion to Dismiss

Plaintiff asserts three causes of action against Local 556 in the Second Amended
Complaint. In Count IH, Plaintiff alleges that the Union breached its duty of fair representation.
In Count IV, Plaintiff alleges that Local 556 retaliated against her for the exercise of her protected
rights under the RLA and the Constitution. And in Count V, Plaintiff alleges that Local 556
violated Title VH by discriminating against her religious beliefs and practices. Local 556 moves
to dismiss pursuant to Rule 12(b)(6) for failure to state a claim.

i. Breach of Duty of Fair Representation (Count HD
The duty of fair representation is akin to the duty owed by other fiduciaries to their

beneficiaries. Air Line Pilots Ass'n, Int'l y. O'Neill, 499 U.S. 65, 74 (1991). Under this doctrine,

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a union’s statutory authority to represent all members of a designated unit includes a statutory
obligation to serve the interests of all members without hostility or discrimination toward any, to
exercise its discretion with complete good faith and honesty, and to avoid arbitrary conduct. /d.
at 76 (citing Vaca v. Sipes, 386 U.S. 171, 177 (1967)). “[I]n order to state a claim for breach of
duty of fair representation, a complainant must allege enough facts that if presumed true, permit
the inference that the complainant’s exclusive bargaining agent acted arbitrarily, discriminatorily,
or in bad faith in its representation of the complainant.” Johnson v. E. Baton Rouge Fed’n of
Teachers, 706 F. App’x 169, 171 (5th Cir. 2017).

Under the arbitrary prong, a union’s actions breach the duty of fair representation “only if,
in light of the factual and legal landscape at the time of the union’s actions, the union’s behavior
is so far outside a wide range of reasonableness as to be irrational.” McCall v. Southwest Airlines
Co., 661 F. Supp. 2d 647, 654 (N.D. Tex. 2009) (quoting O'Neill, 499 U.S. at 67). The Fifth
Circuit has conceded that the arbitrariness standard is difficult to define, but has stated that, to be
non-arbitrary, a decision must be: “(1) based upon relevant, permissible union factors which
excludes the possibility of it being based upon motivations such as personal animosity or political
favoritism; (2) a rational result of the consideration of those factors; and (3) inclusive of a fair and
impartial consideration of the interests of all employees,” /d. (quoting Tedford v. Peabody Coal
Co., 533 F.2d 952, 957 (Sth Cir. 1976)).

A union also must treat its members similarly. /d. (citing Vaca, 386 U.S. at 191). The kind
of discriminatory action proscribed by the second prong is discriminatory action that is
“invidious.” fd. (quoting O’Neill, 499 U.S. at 81).

As to the final prong, bad faith occurs when a union acts with a “motive to harm” a

particular group, and turns on the subjective motivation of the union officials. Carr v. Air Line

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Pilots Ass’n, Int’l, 866 F.3d 597, 602 (Sth Cir. 2017) (quoting O’Neill v. Airline Pilots Ass'n, Int'l,
939 F.2d 1199, 1204 (Sth Cir. 1991)). Bad faith is a “demanding standard” met only by
“sufficiently egregious” union action, /d. (quoting O'Neill, 939 F.2d at 1203). Bad faith conduct
has also been described by the Fifth Circuit as “the absence of honest purpose and judgment or the
presence of hostility or discrimination” by the union. McCall, 661 F. Supp. 2d at 654 (quoting
Freeman v. O'Neal Steel, Inc., 609 F.2d 1123, 1128 1.9 (Sth Cir. 1980)).

In Count HI, Plaintiff alleges,

Local 556 breached the duty of fair representation when, through the actions of

President Stone and/or other agents, it arbitrarily, discriminatorily, and in bad faith,

complained to Southwest management of [Plaintiffs] Facebook messages and

posts, and sought to discipline [Plaintiff] for her speech and other activity opposing

the [U]nion, President Stone, and their political and ideological views, and for

supporting the recall of Local 556 Executive Board.
Second Am. Compl. Ff 99-100,

Local 556 moves to dismiss Plaintiff's breach of the fair duty of representation claim,
arguing that Plaintiff “improperly asks the [C]ourt to accept as true a legal conclusion couched as
a factual allegation.” Union’s Mot. to Dismiss Br. (“Union Br.”) 4. “Plaintiffs specific
shortcoming is that she has failed to plead how the Union failed to fulfill its duty of fair
representation to her.” Jd, Local 556 argues that Plaintiff offers only “bare legal conclusions”
rather than factual allegations that the Union acted arbitrarily, discriminatorily, or in bad faith in
its representation of Plaintiff. fd. at 5-6.

The Court agrees with the Union. The Court finds that Plaintiffs allegations of a breach
of the duty of fair representation fail to establish “more than a sheer possibility” that Local 556’s
conduct was arbitrary, discriminatory, or in bad faith. /gbal, 556 U.S. at 678. Plaintiff alleges that

Local 556 breached its duty of fair representation when Stone “complained to Southwest

management about [Plaintiff's] February 14, 2017 Facebook messages, knowing her complaint

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could result in [Plaintiff’s] termination.” Second Am. Compl. § 96. Plaintiff further alleges that
Stone “requested that Southwest discipline [Plaintiff] for sending the February 14, 2017 Facebook
messages opposing the [U]nion, President Stone, and their political and ideological views, and for
supporting the recall of the Local 556 Executive Board.” /d. 497. Even viewing the facts in the
light most favorable to Plaintiff, the Court cannot draw the reasonable inference that the Union

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conduct alleged by Plaintiff is “invidious,” “egregious,” or “so far outside a wide range of
reasonableness as to be irrational.” Carr, 866 F.3d at 602; McCall, 661 F. Supp, 2d at 654.

Moreover, Plaintiff offers conciusory allegations and unwarranted deductions of fact in
alleging “[o|n information and belief’ that Stone complained to Southwest “knowing the
complaint would likely result in [Plaintiff's] termination.” Second Am. Compl. 4] 96-98. Plaintiff
also offers only a bare recitation of the elements in alleging that the Union “arbitrarily,
discriminatorily, and in bad faith, complained to Southwest management of [Plaintiff's] Facebook
messages and posts, and sought to discipline [Plaintiff] for her speech.” /d. 199. The Court does
not accept as true “conclusory allegations, unwarranted factual inferences, or legal conclusions.”
Ferrer v. Chevron Corp., 484 F.3d 776, 780 (Sth Cir, 2007). A plaintiff must provide “more than
labels and conclusions, and a formulaic recitation of the elements of a cause of action will not do.”
Twombly, 550 U.S. at 555 (internal citations omitted).

The Court finds that Plaintiff has failed to plead “enough facts to state a claim to relief that
is plausible on its face” for a breach of the duty of fair representation. 7wombly, 550 U.S. at $70.
Therefore, the Court grants the Union’s Motion to Dismiss as to Count HI and dismisses the claim
without prejudice. The Court also sua sponte grants Plaintiff leave to amend her pleading

concerning the Union’s alleged breach of the duty of fair representation. See Great Plains, 313

F.3d at 329.

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ii, Retaliation Claims (Count IV)

In Count IV, Plaintiff contends that Local 556 retaliated against her for exercising her
protected rights under the RLA and the Constitution by complaining to Southwest of Plaintiffs
speech and activities, knowing that it could cause her discharge. Second Am. Compl. 106.

(1) Protected Rights under the RLA

Plaintiff alleges that the Union retaliated against her for exercising her protected rights
under the RLA. Plaintiff claims, “Local 556 retaliated against [Plaintiff] for exercising her
protected rights by complaining to Southwest of [Plaintiffs] speech and activities, knowing that it
could cause her discharge.” Second Am, Compl 106. According to Plaintiff, she “suffered an
adverse action when Local 556 complained to Southwest of [Plaintiff's] speech and activities
knowing that [Plaintiff] would be terminated, and when Southwest subsequently terminated her
employment.” Jd. § 107.

The Union moves to dismiss Plaintiff's RLA-based retaliation claim. The Union argues,
“Plaintiff's [retaliation] cause of action is fatally flawed because it does not, and cannot, allege
that Local 556 took any adverse employment action against her, as required under well-established
retaliation case law.” Union Br. 1. “Simply put, the Union cannot take any adverse employment
action against Plaintiff, including the termination of Plaintiff's employment because it is not her
employer. Only Plaintiff's employer, Southwest Airlines, has that authority.” /d. at 1-2,

The Court disagrees with the Union. Fifth Circuit precedent makes clear that retaliation
claims against unions by union members are cognizable causes of action. See, e.g., Int’l Ass’ of
Machinists, 643 F. App’x at 457 (considering union member’s claim that union retaliated against
him by suspending him from union office after he filed charge with EEOC); Martin, 708 F. App’x

at 175 (considering union members’ claim that Local 556 retaliated against them by requiring them

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to pay $100 initiation fee to rejoin union). Whether Plaintiff suffered an adverse action as a result
of Local 556 complaining to Southwest is an inquiry more appropriate for summary judgment or
trial. At the pleading stage, the Court finds that Plaintiff has sufficiently pleaded enough facts to
state a plausible claim for retaliation against Local 556. See Twombly, 550 U.S. at 570. Therefore,
the Court denies the Union’s 12(b)}(6) Motion to Dismiss on this basis.

(2) Protected Rights under the Constitution

Like Southwest, Plaintiff alleges that the Union retaliated against her for exercising her
First and Fifth Amendment rights. Plaintiff alleges that the Union is a “government actor[], acting
under color of federal law, because the RLA confers to Local 556, by federal authority, the power
to act as the exclusive bargaining representative of all Southwest employees.” Second Am. Compl.
{| 103.

The First and Fifth Amendments protect citizens from conduct by the government and state
actors, but not from conduct by private actors. See Tarkanian, 488 U.S. at 191; SF. Arts &
Athletics, Inc., 483 U.S. at 543; Rendell-Baker, 457 U.S. at 837; Flagg Brothers, Inc., 436 U.S. at
156. Unions are not state actors; they are private actors. Hallinan v. Fraternal Order of Police of
Chi. Lodge No. 7,570 F.3d 811, 815 (7th Cir. 2009), cert. denied, 558 U.S. 1049 (2009); see also
Garity v. APWU-APL-CIO, 585 F. App’x 383, 384 (9th Cir, 2014) (“The district court properly
dismissed [plaintiff's] federal constitutional claim because the unions are not state actors acting
under color of law.”); Ciambriello v. Cty. of Nassau, 292 F.3d 307, 323 (2d Cir. 2002) (“Labor
unions... generally are not state actors|.]”); Earl v, Sheriff's Ass’n, Civ. A. No. H-10-0696, 2010
WL 4955328, at *2 (S.D. Tex. Nov. 29, 2010) (“Unions are not state actors.”). There does not
appear to be binding or even persuasive caselaw standing for the proposition that the RLA

“transforms” a union into a state actor. See supra, § H.A.3. Therefore, the Court dismisses with

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prejudice Plaintiffs retaliation claims based on constitutional violations asserted against the
Union.
iti, Title VI (Count IV)

Plaintiff asserts a Title VII claim for religious discrimination against Local 556. According
to Plaintiff, “Local 556 violated Title VII anti-discrimination provisions when it reported
[Plaintiff's] religious activities to Southwest as part of a successful attempt to cause the company
to discharge [her] and otherwise discriminate against her religious beliefs and for engaging in the
religious practice of sharing her religious beliefs on abortion with others.” Second Am. Compl.
127. Under Title VII, it is an unlawful employment practice, inter alia, for a labor organization to
discriminate against any individual because of his religion, or to cause or to attempt to cause an
employer to discriminate against an individual because of his religion. 42 U.S.C, §2000e-2(c).

Local 556 does not move to dismiss Plaintiff's Title VII claim in its motion. See Union
Mot. to Dismiss | (“The only substantive change from Plaintiff's First Amended Complaint to
their Second Amended Complaint is the addition of religious discrimination claims under Title VI
of the Civil Rights Act of 1964, but these claims are not asserted against Local 556.”); see also
Union Br. 1 (“Plaintiff has alleged two distinct claims against Local 556 in this matter: (1) the
Union retaliated against Plaintiff for exercising her protected rights, and (2) the Union breached
their duty of fair representation on behalf of Plaintiff after Southwest notified Plaintiff of her
pending termination.”). At oral argument, counsel for the Union did not directly address the Title
VII claim asserted against the Union. See Mot. Hr’g Tr. 20:7-15, 42:16-25, 43:1-10. Plaintiff
argues, “Local 556 waived any right to argue these claims in a Rule 12(b)(6) motion to dismiss,

having failed to raise them in its instant motion.” Pl.’s Resp. 1,

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Because Local 556 did not move to dismiss to dismiss Plaintiff's Title VII claim or address
Plaintiffs waiver argument in its reply brief, the Court declines to reach the sufficiency of
Plaintiff's Title VII claim asserted against the Union.

i. CONCLUSION

For the reasons stated above, the Court grants in part and denies in part Southwest’s Motion
to Dismiss and Local 556’s Motion to Dismiss. The Court denies Southwest’s 12(b)(1} Motion to
Dismiss for lack of subject matter jurisdiction because Plaintiff's claims do not constitute a “minor
dispute” under the RLA. The Court also declines to exercise its discretion to give preclusive effect
to the findings of the arbitrator at the motion to dismiss stage, and thus denies without prejudice
Southwest’s 12(b)(6) Motion on this ground.

As to Counts I and H, the Court grants Southwest’s 12(b)(6) Motion to Dismiss because
Plaintiff cannot establish that judicial intervention is warranted in this post-certification dispute.
The Court therefore dismisses with prejudice Plaintiff's RLA claims. As to Count IH, the Court
grants the Union’s 12(b)(6) Motion to Dismiss Plaintiff’s claim for breach of the duty of fair
representation, but grants Plaintiff leave to amend. As to Count IV, the Court denies both
Southwest and Local 556’s 12(b)(6) Motions to Dismiss Plaintiffs retaliation claims based on
RLA-protected activity. The Court, however, grants both Southwest and Local 556’s 12(b)(6}
Motions to Dismiss Plaintiff's retaliation claims based on constitutional violations because both
Southwest and the Union are not government actors. Thus, the Court dismisses with prejudice
Plaintiff's retaliation claims based on the exercise of her First and Fifth Amendment rights.
Finally, as to Count V, the Court denies Southwest’s 12(b)(6) Motion to Dismiss Plaintiff's Title

VI claim.

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Because further amendment may not be futile, the Court sua sponte grants Plaintiff leave
to amend her pleadings as to Count II]. Plaintiff shall have 30 days from the date of this Order to
file an amended complaint regarding her claim for a breach of the duty of fair representation

against the Union.

SO ORDERED.

SIGNED February 1, 2019.

KAREN GREN SCHOLER
UNITED STATES DISTRICT JUDGE

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